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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 KATHERINE FRIESS,                   )
            Plaintiff,               )
                                     )
                                     )
 v.                                  )
                                     )       Civil Action No. 1:22-CV-00448-CNS-KLM
                                     )
                                     )
 BENNIE G. THOMPSON et al.,          )
             Defendants              )




                              PROPOSED SCHEDULING ORDER

 Counsel have conferred and submit the following case information and proposed dates for case
 management:

 1.     Did the parties both (a) enter into an agreement at the Rule 26(f) conference resolving all
        issues relating to initial disclosures, and (b) discuss the preservation, disclosure, and
        discovery of electronically stored information? ____yes X no
        If any party objected at the Rule 26(f) conference to making or to the timing of the
        initial disclosures, then the objecting party must, within 10 days after this order and
        plan has been filed, serve and file a document in which the objections are set forth
        with particularity. If the parties have agreed to a deadline for making the initial
        disclosures, state the date by which the initial disclosures will be made: ______________

 2.     Deadline for motions to add parties: Plaintiff Choice 10/10/22, Defendant’s Choice 9/1/22.

 3.     Deadline for motions to amend pleadings: Plaintiff’s Choice 10/10/22, Defendant’s Choice
        9/1/22

 4.     Expert witnesses disclosed by:       a) Plaintiff: 1/24/23
                                             b) Defendant: No response provided
                                             c) Plaintiff Rebuttal: 10 days following Defendant filing

 5.     Deadline for completion of discovery: Plaintiff’s Choice 1/10/23, Defendant’s Choice
        10/14/22

 6.     Dispositive motions deadline (at least 120 days before Trial Ready Date): Plaintiff’s
        Choice 2/10/23, Defendant’s Choice 10/28/22.

 7.     Trial Ready Date (at least 120 days after Dispositive Motions Date): Plaintiff’s Choice
        3/10/23, Defendant’s Choice 11/15/22.

 8.     Has a jury demand been filed? ______yes          X    no
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 9.     Estimate length of trial:        2    days

 10.    Settlement conference: (a) Plaintiff believes a court-sponsored settlement conference
        should be set by the court at this time for a date after: 8/15/22; (b) Defendant’s believe a
        court sponsored settlement conference is not necessary at this time.


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                                        JUDGE’S REVISIONS

 The deadline in Paragraph _____________ is changed to__________________

 The deadline in Paragraph _____________ is changed to __________________

 The deadline in Paragraph _____________ is changed to __________________

 IT IS ORDERED that this proposed Scheduling Order and Discovery Plan _____is _____ is not
 approved and adopted by this court.

 IT IS FURTHER ORDERED that a scheduling and planning conference:

 ____   will not be scheduled at this time.

 ____ will be held in the chambers of Judge ____________ at the U.S. Courthouse in _________,
 on the _______ day of _________________, at __________o’clock.

 ____ will be held by telephone conference, initiated by the court, on the _______ day of
 _________________, at ________o’clock, _____.m.

 DATED this _________ day of ________________________________.


                                                             _______________________________
                                                             MAGISTRATE JUDGE
                                                             UNITED STATES DISTRICT COURT
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                                    ORDER OF REFERENCE

 IT IS HEREBY ORDERED that this case is referred to a U.S. Magistrate Judge for the conduct of
 all further proceedings and the entry of judgment in accordance with 28 U.S.C. §636(c) and the
 consent of the parties.

  DATED this _______ day of _______________________________.


                                                   ____________________________________
                                                   UNITED STATES DISTRICT JUDGE
